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VIA FIRST CLASS MAIL Bie

October 17, 2022 St 7
Wendy E. Greve, Esq. DITRAPANO

Daniel J. Burns, Esq.

Pullin, Fowler, Flanagan, Brown, & Poe. PLLC
James Mark Building

901 Quarrier Street

Charleston, WV 25301

Re: Nabors, Eugene v. Trooper .J. Tincher, et al.
United States District Court — Southern District
Civil Action No. 5:22-cv-00059

Dear Ms. Greve and Mr. Burns,
Please find attached, Plaintiff Eugene Nabors’ Response to Defendant Sr. Trooper J. L
Tincher’s First Set of Interrogatories and Requests for Production of Documents. The

Certificate of Service for this document was filed with the Court on today’s date.

Thank you for your assistance in this matter. If you should have any questions or need additional
information, please do not hesitate to contact me.

Very truly yours.

CALWELL LUCE DITRAPANO PLLC

Felicia Bryant, Legal Ass
fbryant@ecldlaw.com

CFB/fb

500 Randolph St. « Charleston, WV 25302 - p. 304.343.4323 | 800.876.5529 - f. 304.344.3684 - www.cldlaw.com
Lawyers Admitted in Illinois, Kentucky, Massachusetts, New Jersey, New York, Ohio, Pennsylvania, Virginia, West Virginia
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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA
BECKLEY DIVISION

EUGENE NABORS,
Plaintiff,

Vv. Civil Action No.: §:22-cv-00059
Honorable Frank W. Volk

SR. TROOPER J.L. TINCHER,

Defendant.

PLAINTIFF EUGENE NABORS’ RESPONSE TO DEFENDANT SR. TROOPER J.L.
TINCHER’S FIRST SET OF INTERROGATORIES AND REQUESTS FOR
PRODUCTION OF DOCUMENTS

COMES NOW, Plaintiff, by counsel, pursuant to Rules 26, 33, and 34 of the West Virginia Rules
of Civil Procedure and hereby serves his answers, responses, and objections (“Discovery
Responses”) to Defendant Sr. Trooper J.L. Tincher’s First Set of Interrogatories and Requests for
Production of Documents to Plaintiff Eugene Nabors (“Discovery Requests”).

INTERROGATORIES

I. Please state the complete name, including any former names, nicknames or aliases of
Plaintiff, along with complete current residential and mailing address, date of birth, full
name of your spouse if married, names of any and all persons residing with you; and
residential and mailing addresses for the ten (10) years preceding the incident which is
the subject of Plaintiffs Amended Complaint, setting forth the date(s) lived at each
address, and the name of each individual residing at said addresses and their present
address and phone number.

ANSWER: Name: Eugene Nabors, Jr.

Address:
DOB:
Plaintiff is not married and does not have any person residing with him at his

residence. Plaintiff has been residing at above address for the prior ten years of the incident.
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29, Has Plaintiff written or commented on ANY posts on ANY social media sites,
concerning any of the allegations contained in the Amended Complaint? If the answer
is in the affirmative, please identify the dates of each such post and/or comment and the
contents therein.

ANSWER: Plaintiff has not written or commented on any social media site concerning any
of the allegations contained in the Amended Complaint.

30. State the name, address and telephone number of every person who may testify at trial
as an expert witness, and provide a summary of the expert's anticipated testimony and
opinions, and state whether a report has been prepared.

ANSWER; Plaintiff does not know whom he expects to call at the trial of this case and
reserves the right to supplement the Answer to this Interrogatory as the case progresses, in
accordance with the Federal Rules of Civil Procedure and consistent with the applicable
deadlines contained in the scheduling order governing this case.

31. If any response to the Requests for Admissions contained herein is anything other than
an admission, please state Plaintiff's basis for, and any facts and law in support of, the
same.

ANSWER: No Requests for Admission were served upon the Plaintiff.

STS FOR PRODUCTION OF DOCUMENTS

1. Provide copies of any statements of any potential witnesses or individuals that have been
interviewed in connection with this litigation.

RESPONSE: Plaintiff is not aware of and does not have possession of any statement from
any potential witnesses or individual that would have been interviewed in connection with
this litigation.

2. Provide copies of all documents, including but not limited to treatment records, itemized
billing statements, and pharmacy records, relevant to your claim for damages.

RESPONSE; Please find attached copies of medical records and billing records that Plaintiff
currently has in his possession. Plaintiff is in the process of collecting the most recent
information and will supplement these documents upon receipt of the same.

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3. Provide copies of all letters, notes, recordings, or other documentation between the
Plaintiff and the Defendant, his agents, or employers, concerning the allegations which
are the subject of this civil action.

RESPONSE: Plaintiff is not in possession of any letter, notes, recordings, or any other
documentation between him and the Defendant, his agents, or employers concerning this
matter.

4. Provide copies of all documents within your possession or control which you have
received from the Defendant, his agents, or employers, which relate in any way to the
allegations within your Amended Complaint.

RESPONSE: Plaintiff is not aware of any responsive documents.

3. Please produce all documents, photographs, video or audio recordings, communications,
notes, letters, text messages and/or instant messages within your possession or control,
of any Defendant or employee of the West Virginia State Police or which refer, in any
way, to the allegations in Plaintiff's Amended Complaint.

RESPONSE; Please find attached the video link of the incident that this Amended Complaint
is regarding.

6. Please produce copies of, or produce for copying or inspection, any other documents,
things, electronically stored items, photos, videos, recordings, or other tangible items that
the Plaintiff asserts is evidence in support of Plaintiff's Amended Complaint.

RESPONSE: Please find attached documents and video links produced hereto.
7 Provide copies of all journals, diaries, calendars, appointment books, notes, notebooks

or other writings written or maintained by you which reference, in any way, any of the
allegations contained within Plaintiffs Amended Complaint. This includes such material
in paper or electronic form.

RESPONSE: Plaintiff is not in possession of any journal, diary, calendar, appointment book,
notes, notebook, or any other writings related to this Amended Complaint.

8. Provide copies of all other documents, along with an itemized listing, relevant to your
claims for damages.

RESPONSE: Objection. Plaintiff is not required to create an “itemized listing” in response
to a request for production. Subject to the objection, please_find attached copies of medical
records and billing records that Plaintiff currenfly has in his possession. Plaintiff is in the
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process of collecting the most recent information and will supplement these documents upon
receipt of the same.

9. Please produce any and all expert opinion letters, reports or other writings received from
any expert witness who may testify on your behalf with regard to the allegations
contained within Plaintiff's Amended Complaint.

RESPONSE: Plaintiff does not know whom he expects to call at the trial of this case and
reserves the right to supplement the Response to this Request as the case progresses, in
accordance with the Federal Rules of Civil Procedure and consistent with the applicable
deadlines contained in the scheduling order governing this case.

10. Please provide the curriculum vitae of any expert witness whom you may call to testify
in the hearing of this matter.
RESPONSE:

Plaintiff does not know whom he expects to call at the trial of this case and reserves the right
to supplement the Response to this Request as the case progresses, in accordance with the
Federal Rules of Civil Procedure and consistent with the applicable deadlines contained in
the scheduling order governing this case.

Il. Please produce copies of any and all exhibits that you may present at the trial in this
matter.

RESPONSE: Plaintiff does not know what all exhibits that he plans to present at trial at this
time and reserves the right to supplement the Response to this Request as the case progresses,
in accordance with the Federal Rules of Civil Procedure and consistent with the applicable
deadlines contained in the scheduling order governing this case.

12. If you have answered in the affirmative to Interrogatory No. 17, please properly execute
and return the HIPAA Compliant Medical Authorizations for the release of medical,
hospital, or related records of Plaintiff, attached hereto,

RESPONSE: Please find attached the executed HIPAA Complaint Medical Authorization.

13. If your response to Interrogatory No. 18 was in the affirmative, please produce any and
all documents responsive to the same.

RESPONSE: N/A

14. Please execute the Authorization(s) for Wage, Employment and Unemployment
Information of Plaintiff, attached hereto.
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RESPONSE: Please find attached the executed Authorization for Wage, Employment and
Unemployment Information of Plaintiff.

15, Please execute the Authorization for Workers' Compensation records of Plaintiff,
attached hereto.

RESPONSE; Please find attached the executed Authorization for Workers’ Compensation
records of Plaintiff.

16. Please execute the Authorization for Educational records of Plaintiff, attached hereto.
RESPONSE: Please find attached the executed Authorization for Educational records of
Plaintiff.

li Please execute the Authorization for IRS records for the purposes of obtaining the same,
attached hereto.

RESPONSE: Please find attached the executed Authorization for IRS records.

18. Please execute the Authorization for Social Security Administration Information of
Plaintiff, attached hereto.

RESPONSE: Please find attached the executed Authorization for Social Security
Administration Information of Plaintiff.

19. Please produce all social media postings, including but not limited to postings on your
Facebook, Instagram, Twitter, YouTube, blogs, wikis, and any other social media sites
that refer to or relate to in any way, the allegations contained within Plaintiffs Amended
Complaint.

RESPONSE; Plaintiff does not have any social media accounts.

20. Please execute the attached authorization for Social Media records Information of
Plaintiff, attached hereto.

RESPONSE: Please find attached the executed authorization for Social Media Records
Information of Plaintiff.

21. Please produce tax returns of Plaintiff for the last ten (10) years.

RESPONSE; Plaintiff is not in current possession of his tax returns for the last ten years.
Plaintiff will gather this information and supplement this Response in accordance with the
scheduling order governing this case.

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22. Please produce all documents used to formulate Plaintiff's answers to the Defendant's
discovery requests, i.e., a copy of each and every document or other tangible thing which
supports your responses herein, or was identified by you in your answer to any question
herein; specifically identifying the question each document is responsive to.

RESPONSE: Please find attached all documents Plaintiff referred to answer Defendant’s

discovery requests.

EUGENE NABORS,
By Counsel

/s/ Amanda J. Davis, Esquire
L. Danté diTrapano (W.Va. Bar No. 6778)
Charles F. Bellomy (W. Va. Bar No. 9117)
Amanda J. Davis (W. Va. Bar No. 9375)
CALWELL LUCE DITRAPANO PLLC
Law and Arts Center West
500 Randolph Street
Charleston, West Virginia 25302
(304) 343-4323
(304) 344-3684 Facsimile
Counsel for Plaintiff

And

W. Jesse Forbes, Esq. (WVSB# 9956)
FORBES LAW OFFICES, PLLC 1118
Kanawha Blvd. East

Charleston, WV 25301

Telephone: (304) 343-4050

Facsimile: (304) 343 7450

Counsel for Plaintiff
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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA
BECKLEY DIVISION
EUGENE NABORS,
Plaintiff,
v. Civil Action No.: 5:22-cv-00059
Honorable Frank W. Volk

SR. TROOPER J.L. TINCHER,

Defendant.

CERTIFICATE OF SERVICE

The undersigned, counsel of record for Plaintiff, Eugene Nabors does hereby certify that on this
17'" day of October, 2022, that the instant Certificate of Service with regard to “PLAINTIFF
EUGENE NABORS’ RESPONSE TO DEFENDANT SR. TROOPER J.L. TINCHER’S
FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION OF

DOCUMENTS?” was served upon all parties via the CM/ECF:

Wendy E. Greve, Esquire
Daniel J. Burns, Esquire
PULLIN, FOWLER, FLANAGAN,
BROWN & POE, PLLC
James Mark Building
901 Quarrier Street
Charleston, WV 25301
EUGENE NABORS,
By Counsel

/s/ Charles F. Bellomy, Esa.
L. Danté diTrapano (W.Va. Bar No. 6778)
Charles F. Bellomy (W. Va. Bar No. 9117)
Amanda J. Davis (W. Va. Bar No. 9375)
CALWELL LUCE DITRAPANO PLLC
Law and Arts Center West 16

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500 Randolph Street

Charleston, West Virginia 25302
(304) 343-4323

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Counsel for Plaintiff

And

W. Jesse Forbes, Esq. (WVSB# 9956)
FORBES LAW OFFICES, PLLC 1118
Kanawha Blvd. East

Charleston, WV 25301

Telephone: (304) 343-4050

Facsimile: (304) 343 7450

Counsel for Plaintiff
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HIPAA COMPLIANT MEDICAL AUTHORIZATION

Name of specific identification of the person(s), or class of persons, authorized to make the requested disclosure:

Patient Name: Euvene Nabors Jr.
Address: eee
Date of Birth: Social Security Number:

In accordance with 45 CFR 164.508, and other provisions of 45 CFR, J authorize the disclosure of all protected medical
information for the purpose of review and evaluation in connection with a legal claim. This authorization does not permit you
to confer with any employee of Pullin, Fowler, Flanagan, Brown & Poe, PLLC, about any substantive matters unless my
attomey authorizes. I expressly request that all covered entities identified above, under the Health Insurance Portability and
Accountability Act, disclose full and complete protected medical information spanning the time period of January 1, 2010 -
present to the present including the following (one sided copics only please) {electronic and paper-charted health

information}:

¥ All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts,
reports, documents, correspondence, test results, statements, questionnaires/histories, office and doctor’s
handwritten notes, and records received by other physicians.

. All autopsy, laboratory, histology, cytology, pathology, radiology, CT scan, MRI, echocardiogram and
cardiac catheterization reports.

* All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization
videos/CDs/reels, and echocardiogram videos.

= All pharmacy/prescription records including NDC numbers and drug information
handouts/monographs.

* All billing records, including all statements, itemizcd bills, and insurance records.

I authorize you to release the protected health/medical information to:
Pullin, Fowler, Flanagan, Brown & Poe, PLLC
JamesMark Building, 901 Quarrier Street, Charleston, West Virginia, 25301

. This authorization does apply to alcohol/drug abuse trcatment/referral records, sexually transmitted
diseases or HIV/AIDS related treatment records, psychotherapy notes, psychiatric or psychological
records.

* ] acknowledge the right to revoke this authorization by writing to a representative at Pullin, Fowler,

Flanagan, Brown & Poe, PLLC at the above referenced address. However, 1 understand that any
actions already taken in reliance on this authorization cannot be reversed, and my revocation will not
affect those actions.

* 1 understand that Pullin, Fowler, Flanagan, Brown & Poe, PLLC may send copies of my medical
records to other individuals connected with the litigation, including but not limited to potential experts
and/or counse] for party to the litigation, and that those disclosures are not governed by HIPAA

regulations.

* ] understand that information disclosed by this authorization may be subject to redisclosure by the
recipient and may no longer be protected by federal privacy regulations.

- ] understand that the covered entity to whom this authorization is directed may not condition treatment,
payment, enrollment or eligibility benefits on whether or not I sign the authorization.

, Any facsimile, copy or photocopy of the authorization shal] authorize you to release the records herein.

Authorization expiration date or event: at the conclusion of litigation pending before USDC for the Southern
District of WV at Beckley, bearing Civil Action No. 5:22-cv-59 (if left blank, will expire one year from date of
signature).

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/
Relationship to the person who is the subject of the records:
Self: see NF ec Other (describe authority): a __

WITNESS

Signature: Ve 41 Ww - Del . Date: lL 0 ~ 4 = HS—
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HiPAA COMPLIANT MEDICAL AUTHORIZATION
FOR RELEASE OF PSYCHOTHERAPY RECORDS

Name of specific identification of the person(s), or class of persons, authorized to make the requested disclosure:

Patient Name: Euyene Nabors Jr.
Address:

ee
Date of Birh: (ay Social Security Number: J

In accordance with 45 CFR 164.508, and other provisions of 45 CFR, ] authorize the disclosure of all protected medical
information for the purpose of review and evaluation in connection with a Jegal claim. This authorization does not permit you
to confer with any employce of Pullin, Fowler, Flanagan, Brown & Poc, PLLC, about any substantive matters unless my
attorney authorizes. I expressly request that all covered entities identified above, under the Health Insurance Portability and
Accountability Act, disclose ful] and complete protected medical information spanning the time period of January 1, 2010 -
present to the present including the following (one sided copies only plcase) {electronic and paper-charted health
information}:

: All psychiatric/psychological records, including inpatient, outpatient and emergency room
treatment, all clinical charts, reports, documents, correspondence, test results, statements,
questionnaires/histories, therapy notes, office and doctor’s handwritten notes, records received
by other physicians, pharmacy and prescription records and billing records.

1 authorize you to release the protected health/medical information to:

Pullin, Fowler, Flanagan, Brown & Poe, PLLC
JamesMark Building, 901 Quarrier Street, Charleston, West Virginia, 25301

. ] acknowledge the right to revoke this authorization by writing to a representative at Pullin, Fowler,
Flanagan, Brown & Poe, PLLC at the above referenced address. However, | understand that any
actions already taken in reliance on this authorization cannot be reversed, and my revocation will not
affect those actions.

* ] understand that Pullin, Fowler, Flanagan, Brown & Poe, PLLC may send copies of my medical
records to other individuals connected with the litigation, including but not limited to potential experts
and/or counsel for party to the litigation, and that those disclosures are not govemed by HIPAA

regulations.

™ I understand that information disclosed by this authorization may be subject to redisclosure by the
recipient and may no longer be protected by {federal privacy regulations.

, ] understand thai the covered entity to whom this authorization jis directed may not condition treatment,
payment, enrollment or eligibility benefits on whether or not | sign the authorization.

+ Any facsimile, copy or photocopy of the authorization shal] authorize you to release the records herein.

Authorization expiration date or event: at the conclusion of litigation pending before USDC for the Southern
District of WV at Beckley, bearing Civil Action No. 5:22-cv-59 (if left blank, will expire one year from date of
signature).

Signature: Agers Ihe ap fi t Date: ZO 2 “4 - RR

Relationship t« ip pe person who is the subject of the records:
Self: _ Other (describe authority): _ a me ox

WITNESS

Signature: eee Qeel. eo Date: /O-Y ~ XS
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AUTHORIZATION FOR THE RELEASE OF
WORKERS’ COMPENSATION INFORMATION

Claimant: Eugene Nabors

DOB: a

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|, Eugene Nabors, Jr., hereby authorize the release of my complete Workers’
Compensation file concerning any and all claims filed by me, or on my behalf, to Wendy E.
Greve/Daniel J. Burns and the law firm of Pullin, Fowler & Flanagan, Brown & Poe, PLLC,
located at 901 Quarrier Street, Charleston, West Virginia 25301, their agents or

employees and/or AIG Insurance Company, its agents and/or employees.

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EUGENE NABORS, JR.

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EDUCATIONAL RECORDS AUTHORIZATION

|, Eugene Nabors Jr., hereby authorize representatives of the law firm of Pullin,
Fowler, Flanagan, Brown & Poe, PLLC, JamesMark Building, 901 Quarier Street,
Charleston, West Virginia 25301, to obtain and review any and all school/educational

records in the possession of any school or school system relating to the education of

Eugene Nabors Jr., and to make copies thereof.

| further understand and authorize that a photocopy of this executed Educational

Records Authorization shall have the same effect as the original.

WITNESS my signature and seal this¢{1% day of Obl fo, 2022.

Eunets Nabors Jr.

